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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                          )
                                                   )   Case No.: 22-cr-148
               Plaintiff,                          )
                                                   )
vs.                                                )
                                                   )   CONSENT MOTION TO MODIFY
RILEY KASPER,                                      )   CONDITIONS OF RELEASE
                                                   )
               Defendant.                          )


               Defendant, Riley Kasper, through counsel, respectfully asks this Court to modify

the conditions of his pretrial release, and in support states as follows:

       1.      On April 29, 2022, Mr. Kasper was charged by Indictment with various offenses

stemming from the riots at the United States Capitol on January 6, 2021.

       2.      On March 24, 2022, Mr. Kasper made his initial appearance before this Honorable

Court and was released on conditions of pretrial release, including submitting to GPS location

monitoring technology and complying with its requirements as directed. Docket No. 8.

       3.      Mr. Kasper is supervised by United States Probation Officer Melissa Sarkkinen in

the Western District of Wisconsin.

       4.      Since his release, Mr. Kasper has complied with all conditions of his supervision.

       5.      At this time, Mr. Kasper respectfully requests this Court modify his conditions of

pretrial release such that he no longer be required to submit GPS location monitoring technology

or to comply with its requirements.




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          6.       Undersigned contacted counsel for the Government, Christopher Brunwin, and U.S.

Probation Officer Melissa Sarkkinen about the instant request. Counsel is authorized to state the

Government as well as Pretrial services consent to the relief requested in this motion.

          For the foregoing reasons, Mr. Kasper, through counsel, respectfully moves this Court to

modify the conditions of his pretrial release to no longer be required to submit GPS location

monitoring technology or to comply with its requirements.

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                                                           BY: /s/ Christopher J. Nathan
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                                                           ATTORNEY FOR DEFENDANT



              CERTIFICATE OF SERVICE
I hereby certify that on March 7, 2023, I electronically
filed this document with the Clerk of Court using the
ECF system which will serve it on the appropriate
parties.

                        By:   /s/ Melissa Dullea




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